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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
EASTERN DIVISION

UNITED sTATEs oF AMERICA, No. 65 \Q ~OOSC@ V*’d

)
Plaintiff, )
) Assertion of Fifth and Sixth
) Amendment Rights

)

)

)

v.
Sevié`¢o 5- \/ot>€'& db’<\'vaved/D
Defendant

)
l, the above-named defendant, hereby assert my Fifth and Sixth Amendment

rights to remain silent and to have counsel present at any and all of my interactions With
the government or others acting on the government’s behalf l do not Wish to, and Will
not, Waivc any of my constitutional rights except in the presence of counsel l do not
Want the government or others acting on the government’s behalf to question me, or to
contact me seeking my Waiver of any rights, unless my counsel is present.

vw `§\/WMS(

 

 

 

(Defendant’s Signature) Attor“ney’s\§lame/Siglnahlre
Date/Time a.m./p.m.
Interpreter:

 

 

